






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00744-CR






Osagie Newton Omorodion, Appellant


v.


The State of Texas, Appellee






FROM COUNTY COURT AT LAW NO. 7 OF TRAVIS COUNTY

NO. C1CR07216784, HONORABLE ELISABETH ASHLEA EARLE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant's brief was due April 13, 2009.  The brief has not been received,
no&nbsp;extension of time has been requested, and appellant, who is appearing pro se, did not respond to
this Court's notice that the brief is overdue.

		The appeal is abated.  The trial court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal.  See Tex. R. App. P. 38.8(b)(2).  The court shall make
appropriate findings and recommendations.  A record from this hearing, including copies of all
findings and orders and a transcription of the court reporter's notes, shall be forwarded to the
Clerk&nbsp;of this Court for filing as a supplemental record no later than July 16, 2009.  See Tex. R. App.
P. 38.8(b)(3).




__________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Puryear and Henson

Abated

Filed:   June 16, 2009

Do Not Publish


